                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                          CASE NO. 3:95-CR-5-FDW-DCK


UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )        ORDER GRANTING ADMISSION
                                            )              PRO HAC VICE
MARC PIERRE HALL,                           )
                                            )
       Defendant                            )


       THIS MATTER IS BEFORE THE COURT on the “Application For Admission To

Practice Pro Hac Vice” (Document No. 910) concerning George Bundy Smith, filed August 15,

2012. Mr. Smith seeks to appear as counsel pro hac vice for Defendant Marc Pierre Hall.

       Upon review and consideration of the Motion, which was accompanied by submission of

the necessary fee, the Court hereby grants the motion.

       In accordance with Rule 83.1(B) of this Court’s Local Rules, Mr. Smith is admitted to

appear before this court pro hac vice on behalf of Defendant Marc Pierre Hall.

       SO ORDERED.



                                                Signed: August 17, 2012




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